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 EXHIBIT
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"Alex Murdaugh" and "Russell Laffitte" Media Coverage (by number of stories) per SC county between 2021-2025

MURDAUGH COVERAGE LIST          LAFFITTE COVERAGE LIST
Abbeville                1      Abbeville                  0
Aiken                 86        Aiken                      4
Allendale                0      Allendale                  0
Anderson             258        Anderson                  46
Bamberg                  0      Bamberg                    0
Barnwell                 0      Barnwell                   0
Beaufort            1609        Beaufort                 159
Berkeley              18        Berkeley                   0
Calhoun                  0      Calhoun                    0
Charleston         12230        Charleston               960
Cherokee              27        Cherokee                   0
Chester                  0      Chester                    0
Chesterfield             0      Chesterfield               0
Clarendon                0      Clarendon                  0
Colleton              83        Colleton                   2
Darlington               0      Darlington                 0
Dillon                   0      Dillon                     0
Dorchester            19        Dorchester                 1
Edgefield                0      Edgefield                  0
Fairfield                0      Fairfield                  0
Florence             248        Florence                  13
Georgetown               0      Georgetown                 0
Greenville          7818        Greenville               220
Greenwood            213        Greenwood                  7
Hampton                  3      Hampton                    1
Horry               5180        Horry                    165
Jasper                   0      Jasper                     0
Kershaw                  0      Kershaw                    0
Lancaster                0      Lancaster                  1
Laurens                  0      Laurens                    0
Lee                      0      Lee                        0
Lexington            172        Lexington                  2
Marion                   5      Marion                     0
Marlboro                 0      Marlboro                   0
McCormick                0      McCormick                  0
Newberry                 0      Newberry                   0
Oconee                   0      Oconee                     0
Orangeburg           408        Orangeburg                26
Pickens               31        Pickens                    1
Richland            2663        Richland                 219
Saluda                   0      Saluda                     0
Spartanburg          652        Spartanburg               66
Sumter               151        Sumter                    14
Union                    0      Union                      0
Williamsburg          15        Williamsburg               0
York                 288        York                      28
